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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

JOSE CRUZ ARROYO RODRIGUEZ, individually:
and on behalf of others similarly situated,

 

Plaintiff,

ORDER
20 Civ. 5265 (GBD)

-against-

735 WASHINGTON TRATTORIA INC., d/b/a
Malaparte et al.,

Defendants.

GEORGE B. DANIELS, United States District Judge:
The status conference scheduled for February 3, 2021 is adjourned to March 17, 2021 at
9:45 a.m.
Dated: January 27, 2021
New York, New York
SO ORDERED.

Gnioo b Dard

GHORGE B. DANIELS
United States District Judge

 

 

 
